                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

                                      )                 DOCKET NO. 3:06 CR 151
UNITED STATES of AMERICA,             )
                                      )
                                      )
               v.                     )
                                      )
(1) GIUSEPPE PILEGGI,                 )
(2) HERMAN KANKRINI,                  )
(3) MICHAEL ATTILIO MANGARELLA,       )
(4) DAVID MICHAEL HENNESSEY,          )
(5) ROBERT KUSTRA,                    )
(6) MARTIN KALCHSTEIN,                )
(7) LARRY EDWARD CUNNINGHAM           )
  a/k/a "Russ Elkins,"                )
(8) BRIAN WALL COYLE                  )
  a/k/a "Steven Blain"                )
  a/k/a "Boracho,"                    )
(9) JESSE DAVID REID,                 )
(10) VICTOR RONALD KUSTRA,            )
(11) MICHAEL FORCHEMER,               )
(12) ANDREAS ROMAN LEIMER,            )
        and                           )
(13) TRENT BRADFORD NYFFELER          )
  a/k/a "Tula"                        )
_____________________________________ )


    ORDER GRANTING MOTION FOR CONSOLIDATION OF RELATED CASES

       This matter is before the Court on Motion by the United States of America to

consolidate the above-captioned case with United States v. Charles Robert Cummins,

et al., Docket No: 3:05CR400. The United States of America is not seeking

consolidation of these matters for trial. Rather, consolidation is sought to allow both

cases to be presided over by the same judge. As it appears to the Court that these

cases involve similar issues, consolidating these cases before one jurist will provide

greater convenience and economy in the administration of these cases. Accordingly,



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the Court shall grant the Motion.

      IT IS HEREBY ORDERED that the above-captioned case is consolidated for

administrative purposes with United States v. Charles Robert Cummins, et al., Docket

No: 3:05CR400, in that both matters will now appear on the criminal docket for the

undersigned presiding Judge; and it is

      FURTHER ORDERED that the clerk of court shall reassign the above-captioned

case to the judge presiding over United States v. Charles Robert Cummins, et al.,

Docket No: 3:05CR400.

      IT IS SO ORDERED.

                                           Signed: August 27, 2006




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